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  NS:md
                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA

                                        CASE NO. 18-80160-CR-WPD

  UNITED STATES OF AMERICA,

  V.

  RAUL GORRIN BELISARIO,

                  Defendant.


                            NOTICE OF STRIKING DOCKET ENTRY NO. 35

          Plaintiff United States files this Notice of Striking Docket Entry No. 35 and states:

          On February 11 , 2019, the United States filed a Release of Lis Pendens (DE 35). United States

  files this notice of striking and has filed a new Release of Lis Pendens (DE 3 7) for this case.

                                                     Respectfully submitted,

                                                     ARIANA FAJARDO ORSHAN
                                                     UNITED STATES ATTORNEY

                                            By:      s/ Nalina Sombuntham    #J
                                                     Nalina Sombuntham 7
                                                     Assistant United States Attorney
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                                        CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that, on March 8, 2019, I electronically filed the foregoing Notice of

  Striking Docket Entry No. 62 with the Clerk of the Court using CM/ECF.

                                                     s/ Nalina Sombuntham
                                                     Nalina Sombuntham
                                                     Assistant United States Attorney
